                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SCOTT MAGHAKIAN,                                       :       No. 3:12cv2346
           Plaintiff                                   :
                                                       :       (Judge Munley)
                                                       :
                                                       :
                v.                                     :
                                                       :
CABOT OIL & GAS                                        :
CORPORATION, GASSEARCH                                 :
DRILLING SERVICES                                      :
CORPORATION,                                           :
                Defendants                             :
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                                         MEMORANDUM

       Before the court are defendants’ motions to dismiss plaintiff’s first

amended complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) for

failure to state a claim for which relief can be granted. (Docs. 47, 49). The

motions are fully briefed and ripe for disposition.

BACKGROUND

       This personal injury claim arose from Plaintiff Scott Maghakian’s

(hereinafter “plaintiff”) work as an independent contractor at the Jean Blaisure

Natural Gas Well Site (hereinafter “well site”) located in Dimock Township,

Susquehanna County, Pennsylvania. (Doc. 42, Pl.’s First Am. Compl

(hereinafter “Compl.”) ¶ 1). Defendant Cabot Oil & Gas Corporation
(hereinafter “Cabot Oil”) leased the well site. (Id.)1 Cabot Oil, in turn, hired

Helmerich & Payne, Inc. (hereinafter “H&P”) to work on the well site.

        On November 29, 2010, plaintiff prepared to haul an H&P drilling rig off

the well site. (Doc. 50, Cabot Oil’s Br. in Supp. at 2, n.2). While standing

outside his truck, plaintiff alleges that Factory Equipment Excavating’s

(hereinafter “Factory Equipment”) dump truck emptied its load of soil cement,

which created a large hazardous dust cloud.2 (Compl. ¶ 1). Plaintiff’s

exposure to this dust cloud hospitalized him for approximately one month.

(Id.)

        Based upon these facts, plaintiff filed a single-count negligence claim

against Cabot Oil and Gassearch Drilling Services Corporation (hereinafter

“GDS”) (collectively “defendants”). On March 18, 2014, defendants filed

motions to dismiss plaintiff’s amended complaint pursuant to Federal Rule of

Civil Procedure 12(b)(6), bringing the case to its present posture.

Jurisdiction

        This court has jurisdiction pursuant to the diversity statute, 28 U.S.C. §


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         Although plaintiff alleges that Cabot Oil was the “lessor” of the
property, Cabot Oil concedes that in actuality, as a company that leases
property from landowners, it is a “lessee” of the well site. (Doc. 50., Cabot
Oil’s Br. in Supp. at 2, n.3).
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         Factory Equipment was sub-contracted through Defendant Gassearch
Drilling Services Corporation.

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1332. Plaintiff is a citizen of the state of Indiana. (Compl. ¶ 6). Defendant

Cabot Oil is a corporation and citizen of the states of Delaware and Texas

and incorporated in the state of Delaware with its principal place of business

in the state of Texas. (Id.) Defendant GDS is a corporation organized and

existing under the laws of the state of West Virginia with its principal place of

business in the state of Pennsylvania. (Id.) Additionally, the amount in

controversy exceeds $75,000. Because complete diversity of citizenship

exists among the parties and the amount in controversy exceeds $75,000, the

court has jurisdiction over this case. See 28 U.S.C. § 1332 (“district courts

shall have original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and

costs, and is between citizens of different states.”). Because we are sitting in

diversity, the substantive law of Pennsylvania shall apply to the instant case.

Chamberlain v. Giampapa, 210 F.3d 154, 158 (3d Cir. 2000) (citing Erie R.R.

v. Tompkins, 304 U.S. 64, 78 (1938)).

Legal Standard

      Defendants filed their motions to dismiss plaintiff’s first amended

complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). The court

tests the sufficiency of the complaint’s allegations when considering a Rule

12(b)(6) motion. All well-pleaded allegations of the complaint must be viewed


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as true and in the light most favorable to the non-movant to determine

whether, “‘under any reasonable reading of the pleadings, the plaintiff may be

entitled to relief.’” Colburn v. Upper Darby Twp., 838 F.2d 663, 665-66 (3d

Cir. 1988) (quoting Estate of Bailey by Oare v. Cnty. of York, 768 F.2d 503,

506 (3d Cir. 1985)). The plaintiff must describe “‘enough facts to raise a

reasonable expectation that discovery will reveal evidence of’ [each]

necessary element” of the claims alleged in the complaint. Phillips v. Cnty. of

Allegheny, 515 F.3d 224, 234 (3d Cir. 2008) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 556 (2007)). Moreover, the plaintiff must allege facts

that “justify moving the case beyond the pleadings to the next stage of

litigation.” Id. at 234-35. In evaluating the sufficiency of a complaint the court

may also consider “matters of public record, orders, exhibits attached to the

complaint and items appearing in the record of the case.” Oshiver v. Levin,

Fishbein, Sedran & Berman, 38 F.3d 1380, 1384 n.2 (3d Cir. 1994) (citations

omitted). The court does not have to accept legal conclusions or unwarranted

factual inferences. See Curay-Cramer v. Ursuline Acad. of Wilmington, Del.,

Inc., 450 F.3d 130, 133 (3d Cir. 2006) (citing Morse v. Lower Merion Sch.

Dist., 132 F.3d 902, 906 (3d Cir. 1997)).

Discussion

      Plaintiff asserts a negligence claim against the defendants. Under


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Pennsylvania law, for a defendant to be liable for negligence, “[a] plaintiff

must establish ‘that the defendant had a duty to conform to a certain standard

of conduct, that the defendant breached that duty, that such breach caused

the injury in question, and actual loss or damage.’” Berrier v. Simplicity Mfg.,

Inc., 563 F.3d 38, 61 (3d Cir. 2009) (quoting Phillips v. Cricket Lighters, 841

A.2d 1000, 1008 (Pa. 2003)).

      In Pennsylvania, “[t]he standard of care a possessor of land owes to

one who enters upon the land depends upon whether the person entering is a

trespassor, licensee, or invitee.” Micromanolis v. Woods Sch., Inc., 989 F.2d

696, 698 (3d Cir. 1993) (quoting Carrender v. Fitterer, 469 A.2d 120, 123 (Pa.

1983)). “Possessors of land owe a duty to invitees to protect them from

foreseeable harm.” Cochrane v. Kopko, 975 A.2d 1203, 1206 (Pa. Commw.

Ct. 2009). A business invitee is one who is invited or permitted to enter or

remain on the premises of another for a purpose directly or indirectly

connected with business dealings between them. Phillips v. Winters’

Cleaners & Tailors, Inc., 344 F. Supp. 1040, 1043-44 (E.D. Pa. 1972) aff’d,

485 F.2d 681 (3d Cir. 1973). A licensee is one who is privileged to enter or

remain on premises only by virtue of the possessor’s consent. Id.

      To a business invitee, the possessor owes the duty to exercise

reasonable care to make the premises safe for him, or to warn of dangers


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which are known to the possessor or which the possessor should have

become aware of in the exercise of reasonable care, and which are unknown

to the invitee. Id. Thus, to prevail under these circumstances, a plaintiff must

prove either that the proprietor had a hand in creating the harmful condition,

or that he had actual or constructive notice of such condition. Moultrey v.

Great A & P Tea Co., 422 A.2d 593, 598 (Pa. Super. Ct. 1980).

      To a licensee, the possessor of land owes the duty to warn of a

dangerous condition only if the possessor has knowledge of the existence of

the condition and realizes that the condition involves an unreasonable risk of

harm to the licensee and that the licensee is not likely to discover its

existence. Davies v. McDowell Nat. Bank, 180 A.2d 21 (Pa. 1962).

      Both defendants move to dismiss plaintiff’s negligence claim. We will

address each of defendants’ motions separately.

      I. Cabot Oil’s Motion to Dismiss

      Cabot Oil argues that plaintiff failed to establish that he was a “business

invitee” of Cabot Oil’s, such that it owed him a duty to use reasonable care to

protect him from dangerous conditions on the well site. Additionally, Cabot

Oil contends that it did not breach its duty because plaintiff failed to allege

that Cabot Oil knew or had reason to know of the hazardous dust cloud. We

will address these arguments in turn.


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      A. Plaintiff’s Status

      The duty of care owed to plaintiff is based upon his status as to Cabot

Oil. Initially, Cabot Oil disputes plaintiff’s status and hence the duty of care

owed. Plaintiff alleges he was Cabot Oil’s business invitee. Whereas, Cabot

Oil disagrees.

      Here, plaintiff asserts that, as its business invitee, Cabot Oil owed him

the highest duty of care.3 Cabot Oil argues that plaintiff failed to establish that

he was a business invitee. Specifically, Cabot Oil argues that plaintiff did not

work for Cabot Oil nor did the drilling rig that plaintiff was hired to haul belong

to Cabot Oil. Cabot Oil also asserts that plaintiff failed to demonstrate that it

invited him onto the premises. Rather, Cabot Oil contends plaintiff was at

most a licensee.

      Plaintiff argues that he was Cabot Oil’s business invitee because Cabot

Oil possessed the premises and invited plaintiff to remain on the premises

and perform work that indirectly benefitted Cabot Oil. In short, plaintiff alleges

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         Cabot Oil does not dispute that it possessed the well site.
Additionally, it also concedes the following: (1) it hired H&P for the purpose of
performing drilling work on the well site; (2) H&P hired the company Dalton
Logistics to move H&P’s drilling rig parts from Cabot Oil’s well site to another
well site (Chief Oil & Gas, LLC’s) in Sullivan County, Pennsylvania; (3) Dalton
Logistics hired Landstar Corporation as an independent contractor to move
the H&P drilling rig; and (4) plaintiff was contracted by Landstar to move the
H&P drilling rig off Cabot Oil’s well site. (See Doc. 49, Cabot Oil’s Mot. to
Dismiss ¶ 15, n.3).

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that Cabot Oil is in the business of leasing property for the purpose of

conducting various activities related to oil and gas drilling, exploration and

production. Plaintiff avers that his work related to Cabot Oil’s business

dealings because he was hired as an independent contractor to haul a drilling

rig off of Cabot Oil’s leased property and the rig itself belonged to a company

hired by Cabot Oil (H&P).

      We will find at this juncture that plaintiff has sufficiently alleged that he

was Cabot Oil’s business invitee. Cabot Oil hired H&P to perform drilling work

on its leased well site. H&P hired Dalton Logistics which in turn contracted

with Landstar to move H&P’s drilling rig off the well site. Landstar then

contracted plaintiff to haul H&P’s drilling rig. As such, plaintiff has sufficiently

alleged he was invited to enter or remain on Cabot Oil’s property for a

purpose that at least indirectly benefitted Cabot Oil.

       B. Cabot Oil’s Duty

      Cabot Oil next argues that plaintiff has failed to properly allege that it

breached its duty of care. The Pennsylvania Supreme Court has stated that to

prove a breach of the duty owed to a business invitee, a plaintiff must

establish that the landowner had actual or constructive knowledge of the

dangerous condition. Gutteridge v. A.P. Green Services, Inc., 804 A.2d 643

(Pa. Super. Ct. 2002). Stated differently, the plaintiff must demonstrate that


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the landowner had knowledge that the dangerous condition was a type that an

invitee would not be likely to discover or protect themselves against, and that

the landowner failed “to exercise reasonable care to protect [the invitee]

against the danger.” Summers v. Giant Food Stores, Inc., 743 A.2d 498, 506

(Pa. Super Ct. 1999).

      Cabot Oil argues that plaintiff failed to allege that it knew or had reason

to know of the hazardous dust cloud. Cabot Oil asserts that it was impossible

for it to have known of the condition because the dust cloud was not an

“existing condition,” or a persistent condition plaguing the site, nor was it a

latent or hidden defect of which it had special knowledge. Instead, Cabot Oil

contends the dust cloud was a “transitory, one-time event” arising from

Factory Equipment’s improper dumping.

      Plaintiff claims that Cabot Oil had the responsibility to know of all

hazards associated with any aspects of its business. Plaintiff concedes that

Cabot Oil may not have had “superior knowledge” of the existence of the

condition, but nevertheless asserts that, as the lessee of the premises, Cabot

Oil was in the better position to appreciate the inherent hazardous risks

associated with all aspects of its business.

      Viewing plaintiff’s allegations as true, and drawing all reasonable

inferences therefrom in plaintiff’s favor, we find that plaintiff has sufficiently


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alleged that Cabot Oil breached its duty of care. Cabot Oil is in the business

of leasing property for the purpose of conducting various activities related to

oil and gas drilling, exploration and production. Factory Equipment’s dumping

soil cement as part of a clean up project on Cabot Oil’s well site was standard

operating procedure related to Cabot Oil’s drilling, exploration and production

business. Cabot Oil had actual or constructive knowledge of the dangerous

condition. As such, Cabot Oil owed plaintiff the duty to exercise reasonable

care to prevent the occurrence of the hazardous dust cloud or, alternatively,

to warn plaintiff of the hazardous substance contained in the soil cement and

the need to keep a safe distance from its dumping and its failure to take any

such precautionary action may constitute a breach of its duty of care.

Accordingly, Defendant Cabot Oil’s motion to dismiss plaintiff’s first amended

complaint pertaining to the issues of duty and breach will be denied.

      II. GDS’ Motion to Dismiss

      The court next addresses Defendant GDS’ motion to dismiss. Plaintiff

contends that GDS is liable for his injuries because GDS possessed the well

site and negligently failed to provide a safe work environment. GDS argues

that plaintiff failed to establish that it possessed the property and, even if it

did, it only owed plaintiff a duty of care as a licensee— a duty that GDS failed

to breach. The court will address the issues of possession, duty and breach


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in seriatim.

      A. Possession

      As noted above, the possessor of land owes a duty of care to those who

enter the property. In Pennsylvania, “[i]n order for a party to be a ‘possessor’

of land, it must meet one of the following descriptions: it must be in

occupation of the land with the intent to control it, it must have been in

occupation of the land with intent to control it if no other party has done so

subsequently, or it is entitled to immediate occupation if neither of the other

alternatives apply.” Blackman v. Fed. Realty Inv. Trust, 664 A.2d 139, 142

(Pa. Super. Ct. 1995). Simply being present on the land (or even being an

owner of the land) is insufficient to make one a “possessor.” Rudy v. A-Best

Prods Co., 870 A.2d 330, 333 n.4 (Pa. Super. Ct. 2005).

      In the instant case, GDS argues that plaintiff failed to establish that

GDS occupied the well site with the intent to control it. GDS asserts it did not

possess the premises. Rather, GDS was merely on the well site as Cabot

Oil’s contractor to clean up the well site. Plaintiff contends GDS possessed

the well site. Specifically, plaintiff alleges GDS is Cabot Oil’s wholly owned

subsidiary and he was invited to remain on the premises to perform work

which indirectly benefitted Cabot Oil. Moreover, plaintiff asserts that GDS

oversaw the well site’s clean up on behalf of Cabot Oil and plaintiff’s hauling


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of the drilling rig related to the clean up project. Finally, plaintiff avers that

GDS instructed Factory Equipments’ dump trucks to come onto the well site

and dump the hazardous soil cement.

      After careful review, we find that plaintiff has plead sufficient facts to

establish that GDS possessed the well site. GDS may have occupied the well

site based on its capacity as subsidiary to the lessee of the well site, Cabot

Oil. Additionally, GDS oversaw the clean up project and hired the company

that dumped the hazardous soil cement. These facts may demonstrate that

GDS occupied the well site with intent to control it.

      B. Plaintiff’s Status

      Having determined that GDS may have possessed the well site, the

court next addresses whether plaintiff was GDS’ business invitee or licensee.

In Pennsylvania, a business invitee is one who is invited or permitted to

enter or remain on the premises of another for a purpose directly or indirectly

connected with business dealings between them. Phillips v. Winters’

Cleaners & Tailors, Inc., 344 F. Supp. 1040, 1043-44 (E.D. Pa. 1972) aff’d,

485 F.2d 681 (3d Cir. 1973). A licensee is one who is privileged to enter or

remain on premises only by virtue of the possessor’s consent. Id. As noted

above, the law provides a higher duty of care to a business invitee than to a

licensee. To a business invitee, a possessor owes the duty to exercise


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reasonable care, both to make the premises safe, and to discover and make

known dangers which a reasonable inspection would disclose. See Phillips,

344 F. Supp. at 1044. To a licensee, the possessor owes the duty to warn of

a dangerous condition only if it has knowledge of the existence of the

dangerous condition and realizes that the condition involves an unreasonable

risk of harm to the licensee- a risk of harm that the licensee is not likely to

discover on his own. Davies, 180 A.2d at 24.

       Here, GDS argues that plaintiff failed to demonstrate that he was

GDS’ business invitee; rather, plaintiff was a licensee. Specifically, GDS

asserts that it did not invite plaintiff onto the well site nor was plaintiff

working for GDS. Instead, GDS avers plaintiff performed the separate and

unrelated task of moving a drilling rig at the behest of a different company,

Landstar. GDS, therefore, contends that plaintiff and GDS were fellow

independent contractors, each present on the well site performing

designated activities for different companies. As such, GDS argues that it

merely owed plaintiff a duty of care as a licensee.

      Plaintiff contends that he was GDS’ business invitee. Specifically,

plaintiff asserts that his task of moving a drilling rig off the well site indirectly

benefitted GDS. Moreover, plaintiff alleges that GDS instructed Factory

Equipment’s dump trucks to come onto the well site and dump the


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hazardous soil cement. Accordingly, plaintiff asserts that GDS owed him a

duty to take adequate precautions to prevent or contain the dust cloud or to

warn plaintiff and others of the danger.

      We find at this juncture that plaintiff has plead sufficient facts to

establish he was GDS’ business invitee. Plaintiff was working pursuant to a

clean up project on the well site, and GDS oversaw the entire clean up

project. GDS was responsible for the presence and operations of Factory

Equipment’s dump truck while on the well site. As such, plaintiff has

sufficiently alleged he was invited to enter or remain on the well site for a

purpose that indirectly benefitted GDS. Under the facts as plead in the

complaint, GDS may have had a duty to inspect the load contained in

Factory Equipment’s dump truck. Accordingly, we will find that GDS owed

plaintiff a duty as a business invitee.

      C. Duty

      GDS next asserts that even if it owed a duty to plaintiff, plaintiff failed

to demonstrate that it breached its duty to warn or protect plaintiff from the

hazardous substance contained within the soil cement dust cloud. Plaintiff

alleges GDS was responsible for the negligent dumping of the soil cement

because GDS instructed Factory Equipment’s dump truck to come onto the

well site and empty its load of soil cement.


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      Under Pennsylvania law, a possessor of land that knows or by the

exercise of reasonable care would discover a dangerous condition that

involves an unreasonable risk of harm to unknowing invitees is subject to

liability for physical harm caused to such invitees if the possessor fails to

exercise reasonable care to protect them against the danger. Rudy, 870

A.2d at 333 (quoting Gutteridge, 804 A.2d at 656).

      Here, GDS argues that plaintiff failed to demonstrate that it breached

a duty to use reasonable care to warn plaintiff of the dangers present in the

soil cement dust cloud because the dust cloud was sudden and occurred as

a result of Factory Equipment’s negligent dumping. GDS asserts that

plaintiff failed to establish that GDS had reason to anticipate Factory

Equipment’s negligence or that GDS had any greater perception or

knowledge of the dust cloud than plaintiff.

      Plaintiff avers that GDS was responsible for any hazards associated

with operations under its direct control, such as Factory Equipment’s soil

cement dumping. While GDS maintains that it lacked “superior knowledge”

of the existence of the condition, plaintiff contends that GDS was in the

better position to appreciate the inherent hazardous risks associated with

operations under its direct control.

      Taking plaintiff’s allegations as true, we will find that GDS had a duty

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to inspect Factory Equipment’s dump truck and that their failure to do so

may constitute a breach of its duty. Had GDS conducted such an

inspection, they may have detected that the soil cement contained a

hazardous substance, allowing GDS to issue warnings to persons on the

premises like plaintiff who were unlikely to realize the danger. GDS’s failure

to exercise this reasonable care to inspect and warn or make safe the

dangerous condition involving the soil cement amounts to a breach of its

duty of care owed to plaintiff. As such, Defendant GDS’ motion to dismiss

plaintiff’s first amended complaint will be denied.

Conclusion

      For the reasons stated above, we find that plaintiff has plead sufficient

facts to state a cause of action against both defendants. Defendant Cabot

Oil’s motion to dismiss plaintiff’s first amended complaint will therefore be

denied. Additionally, Defendant GDS’ motion to dismiss plaintiff’s first

amended complaint will be denied.



Date: August 20, 2014                      s/ James M. Munley
                                           JUDGE JAMES M. MUNLEY
                                           United States District Court




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